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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                :          CIVIL ACTION

PATRICIA SCHWARTZ                               :

                                                :

                v.                              :

CREDIT ONE FINANCIAL D/B/A CREDIT
ONE BANK                                        :

                                                :          NO. 15-3938


                                     CIVIL JUDGMENT



BEFORE J. CURTIS JOYNER

                AND NOW, this 3rd         day of August               , 2016 , it appearing that
an Arbitration Award was entered and filed on July 29, 2016, and that 30 days have elapsed from
the entry of the award without any party demanding a trial de novo, it is hereby

               ORDERED, that in accordance with the Arbitration Award and Local Civil Rule
53.2, Section 6, civil judgment is entered in favor of Defendant, Credit One Financial d/b/a
Credit One Bank.



ATTEST:                              OR                     BY THE COURT:



By:                                                           /s/Honorable J. Curtis Joyner
      Deputy Clerk                                           J. CURTIS JOYNER, J.

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